Case 2:24-cv-01148 Document 1-1 Filed 02/09/24 Page 1 of 6 Page ID #:8


                              Exhibit A


SUBJECT PHOTOGRAPHS                           INFRINGING CONTENT




                              [https://immortalthredz.com/products/bonita-butterfly-
                              shoes]
Case 2:24-cv-01148 Document 1-1 Filed 02/09/24 Page 2 of 6 Page ID #:9
Case 2:24-cv-01148 Document 1-1 Filed 02/09/24 Page 3 of 6 Page ID #:10




                                 [https://immortalthredz.com/products/katy-cross-pink-
                                                     platform-boots]
Case 2:24-cv-01148 Document 1-1 Filed 02/09/24 Page 4 of 6 Page ID #:11
Case 2:24-cv-01148 Document 1-1 Filed 02/09/24 Page 5 of 6 Page ID #:12
Case 2:24-cv-01148 Document 1-1 Filed 02/09/24 Page 6 of 6 Page ID #:13




                                  [https://immortalthredz.com/products/magenta-gem-
                                                      platforms-1]




                               [https://immortalthredz.com/products/baby-doll-plaid-and-
                                                   cherry-platforms-1]
